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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

DIGITAL VERIFICATION               §
SYSTEMS, LLC,                      §
                                   §
      Plaintiff,                   §         Case No:
                                   §
vs.                                §         PATENT CASE
                                   §
ADEMERO, INC.,                     §
                                   §
      Defendant.                   §
__________________________________ §


                                 COMPLAINT

      Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this

Complaint against Ademero, Inc. (“Defendant” or “Ademero”) for infringement

of United States Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).

                        PARTIES AND JURISDICTION

      1.     This is an action for patent infringement under Title 35 of the United

States Code. Plaintiff is seeking injunctive relief as well as damages.

      2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

(Federal Question) and 1338(a) (Patents) because this is a civil action for patent

infringement arising under the United States patent statutes.

      3.     Plaintiff is a Texas limited liability company with an address of 1

East Broward Boulevard, Suite 700, Fort Lauderdale, FL 33301.




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      4.     On information and belief, Defendant is a Utah corporation with its

principal office located at 4798 S. Florida Ave., Suite 331, Lakeland, FL 33813. On

information and belief, Defendant may be served through its registered agent,

Brittany Shell, at the same address.

      5.     On information and belief, this Court has personal jurisdiction over

Defendant because Defendant has committed, and continues to commit, acts of

infringement in this District, has conducted business in this District, and/or has

engaged in continuous and systematic activities in this District.

      6.     On information and belief, Defendant’s instrumentalities that are

alleged herein to infringe were and continue to be used, imported, offered for

sale, and/or sold in this District.

                                       VENUE

      7.     On information and belief, venue is proper in this District under 28

U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively,

acts of infringement are occurring in this District and Defendant has a regular

and established place of business in this District.

                          COUNT I
      (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)

      8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

      9.     This cause of action arises under the patent laws of the United States

and, in particular, under 35 U.S.C. §§ 271, et seq.


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      10.    Plaintiff is the owner by assignment of the ‘860 Patent with sole

rights to enforce the ‘860 Patent and sue infringers.

      11.    A copy of the ‘860 Patent, titled “Digital Verified Identification

System and Method,” is attached hereto as Exhibit A.

      12.    The ‘860 Patent is valid, enforceable, and was duly issued in full

compliance with Title 35 of the United States Code.

      13.    Upon information and belief, Defendant has infringed and

continues to infringe one or more claims, including at least Claim 1, of the ‘860

Patent by making, using (at least by having its employees, or someone under

Defendant's control, test the accused Product), importing, selling, and/or

offering for sale associated hardware and/or software for digital signature

services (e.g., Ademero eSignature service), and any similar products and/or

services (“Product”) covered by at least Claim 1 of the ‘860 Patent. Defendant has

infringed and continues to infringe the ‘860 patent either directly or through acts

of contributory infringement or inducement in violation of 35 U.S.C. § 271.

      14.    The Product provides a system for e-signatures.         The Product

provides for digitally verifying the identification of a sender. Certain aspects of

this element are illustrated in the screenshot(s) below and/or in those provided

in connection with other allegations herein.




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      15.    The Product includes at least one digital identification module

structured to be associated with at least one entity. For example, the Product

provides a module (e.g., e-signature creation module) to be associated with at

least one entity (i.e., a user who needs to use a digital signature). Certain aspects

of this element are illustrated in the screenshot(s) below and/or in those

provided in connection with other allegations herein.




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      16.    The Product includes a module generating assembly structured to

receive at least one verification data element corresponding to the at least one

(e.g., a user has a unique login ID and password for accessing and verifying the

account for e-signing documents) and create said at least one digital

identification module (e.g., creating an e-signature of a user). Certain aspects of

this element are illustrated in the screenshot(s) below and/or in those provided

in connection with other allegations herein.




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      17.    The at least one digital identification module is disposable within at

least one electronic file. For example, the user can store the e-signature within a


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document or including PDF, WORD DOC, IMAGES, etc. Certain aspects of this

element are illustrated in the screenshot(s) below and/or in those provided in

connection with other allegations herein.




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      18.    The at least one digital identification module includes at least one

primary component structured (e.g., an e-signature of a user is associated with

information including username, etc.) to at least partially associate the digital

identification module with the at least one entity (e.g., an e-signature is

associated with a user, who has to sign digitally). Certain aspects of this element

are illustrated in the screenshot(s) below and/or in those provided in connection

with other allegations herein.




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      19.   The at least one digital identification module is cooperatively

structured to be embedded within only a single electronic file (e.g., an e-

signature is stored within a document- including PDF, WORD DOC, IMAGES,

etc.). Certain aspects of this element are illustrated in the screenshot(s) below

and/or in those provided in connection with other allegations herein.




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      20.   Defendant’s actions complained of herein will continue unless

Defendant is enjoined by this court.

      21.   Defendant’s actions complained of herein are causing irreparable

harm and monetary damage to Plaintiff and will continue to do so unless and

until Defendant is enjoined and restrained by this Court.

      22.   Plaintiff is in compliance with 35 U.S.C. § 287.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff asks the Court to:

      (a)   Enter judgment for Plaintiff on this Complaint on all causes of action

asserted herein;

      (b)   Enter an Order enjoining Defendant, its agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with

Defendant who receive notice of the order from further infringement of United

States Patent No. 9,054,860 (or, in the alternative, awarding Plaintiff a running

royalty from the time of judgment going forward);

      (c)   Award Plaintiff damages resulting from Defendant’s infringement

in accordance with 35 U.S.C. § 284;

      (d)   Award Plaintiff pre-judgment and post-judgment interest and costs;

and

      (e)   Award Plaintiff such further relief to which the Court finds Plaintiff



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entitled under law or equity.

 Dated: October 25, 2021           Respectfully submitted,


                                          /s/ Barbra A. Stern
                                   Barbra A. Stern, Esquire
                                   Fla. Bar. No. 526576
                                   Law Offices of Barbra Stern PA
                                   808 E. Las Olas Blvd. Suite 102
                                   Fort Lauderdale, FL 33301
                                   Phone: (954) 743-4710
                                   Direct Dial (954) 239-7249
                                   barbra@sternlawoffice.com


                                   ATTORNEY(S) FOR PLAINTIFF




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